 Case 3:16-cr-00297-BTM     Document 25    Filed 03/11/16   PageID.50    Page 1 of 1
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                                                                        LiAR 11 20t6
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                                                                  Cll::HK us DISTRICT COURT
                                                                     I::HN DIS I RICi OF CALIFORNIA
 2                                                                                          DEPUTY

 3
                                UNITED STATES DISTRICT COURT
 4
                           SOUTHERN DISTRICT OF CALIFORNIA

 5 UNITED STATES OF AMERICA,                        Case No.: 16CR297-BTM-2
 6
                            Plaintiff,
 7
                                                    OlIDER AND JUDGMENT TO
             v.                                     DISMISS WITHOUT PREJUDICE
 8
     MARIA CEBALLOS (2),
 9

10
                            Defendant.
11

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13
             Upon motion   of    the   united States    of America      and      good      cause
14
     appearing,
15
             IT IS HEREBY ORDERED that the Information in the above-entitled
16
     case be dismissed without prejudice as to Defendant Maria Ceballos
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     (2) •
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             IT IS SO ORDERED.

                                 I)     , 2016


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                                                 HONOE }B~RYTEDMOSKOTz
23                                               Chief Judge
                                                 United States District Court
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